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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
                                 LAS VEGAS, NEVADA


UNITED STATES OF AMERICA,                 )
                                          )      02:03-cr-00500-LRH-LRL
                     Plaintiff,           )
                                          )      MINUTE ORDER
vs.                                       )
                                          )      March 1, 2006
LANCE MATTHEW MALONE, et al.,             )
                                          )
                     Defendant.           )
                                          )

PRESENT:
THE HONORABLE Larry R. Hicks, UNITED STATES DISTRICT JUDGE

DEPUTY CLERK:        NONE APPEARING            REPORTER:         NONE APPEARING
COUNSEL FOR PLAINTIFF(S):              NONE APPEARING
COUNSEL FOR DEFENDANT(S):                 NONE APPEARING
MINUTE ORDER IN CHAMBERS:

        PLEASE TAKE NOTICE that the time of the hearing scheduled on MONDAY, MARCH 13,
2006, at 1:30 P.M., in Courtroom 7C, to consider whether certain documents are protected from
disclosure by the work product doctrine has been changed to begin at 2:30 P.M. to accommodate the
arrival schedule of out-of-state counsel.




                                              LARRY R. HICKS
                                              UNITED STATES DISTRICT JUDGE
